           Case 2:19-cv-05029-AB Document 39 Filed 12/09/20 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 PATRICIA MCNULTY,                          :
                Plaintiff,                  :        CIVIL ACTION
                v.                          :        No. 2:19-cv-05029-AB
 THE MIDDLE EAST FORUM et al,               :
                Defendants.                 :


                                         ORDER

      AND NOW, this 9th day of December 2020, it is ORDERED that The Middle

East Forum’s Motion to Compel (ECF No. 36) and Motion for Contempt (ECF No.

38) are referred to Judge Strawbridge.


                                                      s/ANITA B. BRODY, J.
                                                     ANITA B. BRODY, J.




       COPIES VIA ECF
